Case 21-02909-hb        Doc 39     Filed 12/03/21 Entered 12/03/21 17:17:55         Desc Main
                                   Document      Page 1 of 3


                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA

_____________________________________
IN RE:

The Muffin Mam, Inc.,                                Chapter 7

                        Debtors.                     Case No. 21-02909-hb
_____________________________________

                             NOTICE OF RECLAMATION OF
                             CREATIVE BAKERY SOLUTIONS

       PLEASE TAKE NOTICE that by and through its undersigned counsel, Creative Bakery

Solutions, LLC (“Creative Bakery”) hereby files this Notice of Reclamation for the reclamation

of goods pursuant to 11 U.S.C. §546(c) upon Debtor the Muffin Mam, Inc. (“Muffin Mam”) and

Debtor’s counsel, to reclaim certain assets (the “Goods”) that are subject to reclamation. The

Goods were sold in the ordinary course of Creative Bakery’s business and delivered on credit

terms to, and received by Muffin Mam during the forty-five (45) days prior to filing of its

bankruptcy petition. Muffin Mam attaches as Exhibit A and incorporates by reference its written

demand for the return of the goods and its attempt to resolve this request prior to making this

request for reclamation with the court.

       Attached hereto as Exhibit B is a copy of the invoices for the deliveries made within the

forty-five (45) day time period.

       Please take further notice that Creative Bakery reserves all of its right and remedies

available under the United States Bankruptcy Code including the right to supplement this notice.

       Wherefore, Creative Bakery hereby requests an order from this Court allowing Creative

Bakery to reclaim the goods pursuant to 11 U.S.C. §546(c) still in the possession of Muffin Mam

and such other and further relief as the court deems just and proper.
Case 21-02909-hb     Doc 39   Filed 12/03/21 Entered 12/03/21 17:17:55       Desc Main
                              Document      Page 2 of 3




                                Respectfully Submitted,

Dated: December 3, 2021                /s/ Richard R. Gleissner
                                       U.S.Dist. ID 5389
                                       Gleissner Law Firm, LLC
                                       Richard R. Gleissner, Esquire
                                       1237 Gadsden Street, Suite 200A
                                       Columbia, SC 29201
                                       Telephone: (803) 787-0505
                                       Facsimile: (803) 712-4283
                                       Email: rick@gleissnerlaw.com
                                       Attorneys for Creative Bakery Solutions, LLC




                                          2
Case 21-02909-hb          Doc 39      Filed 12/03/21 Entered 12/03/21 17:17:55                Desc Main
                                      Document      Page 3 of 3


                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA
_____________________________________
IN RE:

The Muffin Mam, Inc.,                            Chapter 7

                          Debtor.     Case No. 21-02909-hb
_____________________________________
                             CERTIFICATE OF SERVICE

        The undersigned hereby certified that a true and correct copy of the foregoing instrument has
been served on this 3rd day of December, 2021 upon the parties listed below and all parties requesting
service via ECF Notification:

Harrison Penn, Esquire
McCarthy, Reynolds & Penn, LLC
PO Box 11332
Columbia, SC 29211-1332

United States Trustee
Strom Thurmond Federal Building
1835 Assembly St.,Suite 953
Columbia, SC 29201

John K. Fort, Esquire
PO Box 789
Drayton, SC 29333

Reid Dyer, Esquire
Moore & Van Allen, PLLC
78 Wentworth Street
Charleston, SC 29401
Attorney for the Pinnacle Bank
Dated: December 3, 2021                          /s/ Richard R. Gleissner
                                                 US Dist. ID # 5389
                                                 Gleissner Law Firm, LLC
                                                 Richard R. Gleissner, Esquire
                                                 1237 Gadsden Street, Suite 200A
                                                 Columbia, SC 29201
                                                 Telephone: (803) 787-0505
                                                 Email: rick@gleissnerlaw.com
                                                 Attorneys for Creative Bakery Solutions




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